






NO.  07-01-0443-CR


					        07-01-0444-CR

					        07-01-0445-CR


IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JUNE 21, 2002



______________________________




JOHN RICHMOND PHILLIPS, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;



NO. 43,736-E; 43,962-E; 43,963-E  HONORABLE ABE LOPEZ, JUDGE



_______________________________



Before BOYD, C.J., and REAVIS and JOHNSON, JJ.

	Appellant John Richmond Phillips filed a Motion to Dismiss Appeal on June 17,
2002, averring that he no longer wishes to prosecute his appeals.   The Motion to Dismiss
is signed by both appellant and his attorney.  

	Without passing on the merits of the case, appellant's motion for voluntary dismissal
is granted and the appeals are hereby dismissed.  Tex. R. App. P. 42.2.   Having dismissed 


the appeals at appellant's personal request, no motion for rehearing will be entertained and
our mandate will issue forthwith.  



							Phil Johnson

						    	    Justice













Do not publish.





ndent m:val="1440"/&gt;
   
   
  









NO. 07-10-00399-CV

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL A

&nbsp;



JANUARY
13, 2011

&nbsp;



&nbsp;

K. KYLE LEWIS, APPELLANT

&nbsp;

v.

&nbsp;

WACHOVIA FINANCIAL SERVICES, INC., APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 236TH DISTRICT COURT OF TARRANT
COUNTY;

&nbsp;

NO. 236-242-52909; HONORABLE THOMAS W. LOWE III, JUDGE



&nbsp;



&nbsp;

Before CAMPBELL
and HANCOCK and PIRTLE, JJ.

&nbsp;

&nbsp;

ON MOTION TO DISMISS

Appellant K. Kyle Lewis filed a
motion to dismiss his appeal on December 20, 2010. The motion includes a
certificate of conference but according to the certificate counsel for Lewis
was unable to confer with counsel for appellee
Wachovia Financial Services, Inc.&nbsp; We
therefore withheld determination of Lewiss motion until the passage of ten
days.&nbsp; Tex. R. App. P. 10.1(a)(5),10.3(a)(2).&nbsp; Wachovia
filed no response to Lewiss motion.

The motion to dismiss is granted and
the appeal is dismissed.&nbsp; Tex. R. App. P.
42.1(a)(1).&nbsp; The
motion does not indicate an agreement of the parties with regard to the
allocation of costs of the appeal.&nbsp; We
therefore tax costs of the appeal against Lewis. Tex. R. App.
P. 42.1(d).

Having dismissed the appeal at the
request of Lewis, we will entertain no motion for rehearing, and our mandate
will issue forthwith.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; James
T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 








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